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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

    MABEL DIAZ-AQUINO,

                        Petitioner,             No. 15-CV-7909 (LAP)

    -against-                                   No. 13-CR-537 (RPP)

    UNITED STATES OF AMERICA,                    MEMORANDUM & ORDER

                        Respondent.

LORETTA A. PRESKA, Senior United States District Judge:

        Before the Court are pro se Petitioner Mabel Diaz-Aquino’s

motion to vacate, set aside, or correct her sentence under 28

U.S.C. § 2255 and her related request for counsel.            (Dkt. nos.

1, 4). 1   For the reasons set forth below, the motions are DENIED.

        The Court assumes the parties’ familiarity with the facts

of the case and will only give a high-level overview of

pertinent background information.         Ms. Diaz-Aquino pleaded

guilty to conspiracy to distribute a Schedule IV controlled

substance, in violation of 21 U.S.C. § 846.           (Dkt. no. 18 in 13-

CR-537).        On January 15, 2014, the Court entered final judgment

sentencing her to two years’ probation.          (Id.).   Because she did

not appeal, Ms. Diaz-Aquino’s conviction became final on January




1 All docket cites in this opinion, unless noted otherwise, shall
refer to the docket in 15-CV-7909.

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29, 2014. 2

     On October 6, 2015, the Court received Ms. Diaz-Aquino’s

§ 2255 motion, which was dated October 2, 2015.           (Dkt. no. 1).

On October 15, 2015, the Court ordered her to file, within sixty

days, an affirmation showing cause why her motion should not be

denied as time-barred.       (Dkt. no. 3).     One week later, the Court

received Ms. Diaz-Aquino’s request for counsel, (dkt. no. 4),

which the Court held in abeyance pending submission of her

affirmation regarding the timeliness of her § 2255 petition,

(dkt. no. 5).     No such affirmation ever came.

     A one-year limitations period applies to § 2255 motions.

28 U.S.C. § 2255(f).       Because Ms. Diaz-Aquino filed her § 2255

motion more than one year after her conviction became final, her

motion is DENIED as time-barred.          See id. § 2255(f)(1).     Her

request for counsel is DENIED as moot.          Because Ms. Diaz-Aquino

has not made a substantial showing of a denial of a

constitutional right, a certificate of appealability will not

issue.    See id. § 2253(c).      The Court certifies that any appeal

from this Order would not be taken in good faith.            See id.




2 See Moshier v. United States, 402 F.3d 116, 118 (2d Cir. 2005)
(per curiam) (“[F]or purposes of § 2255 motions, an unappealed
federal criminal judgment becomes final when the time for filing
a direct appeal expires.”); FED. R. APP. P. 4(b)(1)(A)(i) (“In a
criminal case, a defendant’s notice of appeal must be filed in
the district court within 14 days after the later of . . . the
entry of either the judgment or the order being appealed.”).
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§ 1915(a)(3); Coppedge v. United States, 369 U.S. 438, 444–45

(1962). The Clerk of the Court is directed (1) to mark this

action closed and all pending motions denied as moot and (2) to

mail a copy of this order to Ms. Diaz-Aquino.

SO ORDERED.


Dated:       October 21, 2020
             New York, New York


                              __________________________________
                              LORETTA A. PRESKA
                              Senior United States District Judge




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